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                               UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

EBONY JONES, on behalf of herself
and others similarly situated,
                                                           Civil Action No. 1:19-cv-06736
         Plaintiff,
                                                           Judge Jorge L. Alonso
                      v.

CBC RESTAURANT CORP d/b/a
CORNER BAKERY CAFE,

        Defendant.


                               PRELIMINARY APPROVAL ORDER

        This matter having come before the Court on Plaintiff’s Renewed Unopposed Motion for

 Preliminary Approval of Class Action Settlement (“the Motion”), the Court having reviewed and

 considered the Motion, the supporting Memorandum of Law and attached exhibits, including the

 Amended Class Action Settlement Agreement (“Settlement” or “Settlement Agreement”) and its

 attachments, and the Court being fully advised on the premises,

        IT IS ORDERED AS FOLLOWS:

        1.      The Court finds, on a preliminary basis, that the Settlement is fair, reasonable, and

 adequate.

        2.      The Settlement Agreement was negotiated at arm’s-length between counsel for the

 Parties who are experienced in class action litigation.

        3.      The Court finds, on a preliminary basis, that Class Counsel has adequately

 represented the proposed Class Members, which are defined as follows:

        All of Defendant’s workers who used a finger-scan timekeeping system or
        biometric tracking system at a Corner Bakery in Illinois during the “Class Period”
        of August 30, 2014 to January 21, 2020 (“Class Members”).
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       4.      The Court finds that notice to the proposed Class Members is justified because

Plaintiff has shown that the Court will likely be able to (i) approve the Settlement under Rule

23(e)(2) and (ii) certify the proposed class for purposes of settlement.

       5.      For settlement purposes only, the Court appoints Ebony Jones as the Class

Representative.

       6.      For settlement purposes only, the Court appoints as Class Counsel:

                                      Douglas M. Werman
                                       Maureen A. Salas
                                      Zachary C. Flowerree
                                        Sarah J. Arendt
                                       Werman Salas P.C.
                              77 West Washington Street, Suite 1402
                                       Chicago, IL 60602

       7.      The Court appoints Analytics Consulting, LLC as the Settlement Administrator to

perform all duties described in the Settlement Agreement or ordered by this Court.

       8.      The Court finds that direct mail distribution of the proposed Notice of Class Action

Settlement (“Notice”) is the best practicable means of providing notice under the circumstances

and, when completed, shall constitute due and sufficient notice of the proposed Settlement and of

the Final Approval Hearing to all persons affected by or entitled to participate in the Settlement,

in full compliance with the notice requirements of Fed. R. Civ. P. 23, due process, the Constitution

of the United States, and other applicable laws. The proposed Notice is accurate, objective, and

informative. It provides Class Members with all of the information necessary to evaluate the

fairness of the Settlement and to make an informed decision regarding whether to participate in

the Settlement.

       9.      Any Class Member may submit by mail or email a request for exclusion from the

Settlement to the Settlement Administrator on or before the Exclusion Deadline Date (60 days

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from Notice mailing). Such written request for exclusion must contain the Class Member’s full

name, address, telephone number, and the last four digits of his or her social security number, a

statement that the Class Member wishes to be excluded from the Settlement, and must be

personally signed by the Class Member. The date of the postmark on the return mailing envelope

or the timestamp on the electronic submission shall be the exclusive means used to determine

whether a request for exclusion has been timely submitted. Any Class Member who excludes

himself or herself from the Settlement will not be entitled to any recovery under the Settlement

and will not be bound by the Settlement. No later than three (3) days after receiving a request for

exclusion the Settlement Administrator shall furnish to Class Counsel and Defendant’s Counsel a

copy of that request for exclusion. No later than 24 hours after receiving a request for exclusion

from the Settlement Administrator, the Parties shall file the request for exclusion with the Court.

       10.     Any Class Member may object to this Settlement. To do so, the Class Member must

mail or email a written objection to the Settlement Administrator. Objections must state whether

the objection applies only to the objector, to a specific subset of the class, or to the entire class,

and also state with specificity the grounds for the objection. No later than three (3) days after

receiving objections, the Settlement Administrator shall furnish Class Counsel and Defendant’s

Counsel copies of objections received from Class Members. No later than 24 hours after receiving

an objection from the Settlement Administrator, the Parties shall file the objection with the Court.

       11.     Class Counsel shall file a motion for attorneys’ fees and costs, the Class

Representative’s Service Award, and the Settlement Administrator’s costs within 15 days of the

Exclusion Deadline Date. Class Counsel shall provide a copy of the motion to the Settlement

Administrator so that Class Members may obtain a copy.




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       12.     Class Counsel shall file a motion for final approval of the Settlement no later than

fourteen days before the Final Approval Hearing.

       13.     The Court schedules a Fairness/Final Approval Hearing for October 22, 2020 in

Courtroom 1903 of the Everett McKinley Dirksen United States Courthouse, 219 South Dearborn

Street, Chicago, Illinois 60604 at 11:00 a.m., to consider, among other things, (1) whether to finally

approve the Settlement; (2) whether to approve Class Counsel’s request for attorneys’ fees and

litigation costs; and (3) whether to approve the Class Representative’s request for an incentive

award. Class Members may, but are not required to, appear at the Final Approval Hearing and

request to speak in favor or against the Settlement.

       14.     The Final Approval Hearing may be postponed by order of the Court without

further notice to Settlement Class Members. At or following the Final Approval Hearing, the Court

may enter a Final Judgment approving the Settlement and entering a Final Approval Order in

accordance with the Settlement that adjudicates the rights of all Settlement Class Members.

SO ORDERED.                                            ENTERED: June 12, 2020



                                                       _________________________________
                                                       HON. JORGE ALONSO
                                                       United States District Judge




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